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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:06-cr-00035-MP-AK

BRUCE DAVID ADAMS, et al.,

      Defendants.
________________________________/

                                            ORDER

         This matter is before the Court on Doc. 161, Motion for a Preliminary Order of

Forfeiture, filed by the United States of America. Being fully advised in the premises, the Court

finds:

         1. On September 26, 2006, a Federal Grand Jury sitting in the Northern District of

Florida issued an Indictment against the defendant, charging him with violations of Title 21

United States Code, Sections 841, 846, and Title 18 United States Code, Section 924. A

Superseding Indictment was returned on April 3, 2007.

         2. The Indictment included a Forfeiture Count, pursuant to Title 21, United States Code,

Section 853 and Title 18, United States Code, Section 924.

         3. On April 12, 2007, the jury returned a guilty verdict against Defendant, Bruce David

Adams, on Counts I and II of the Indictment.

         4. On April12, 2007, the same jury returned a Special Verdict, finding that Defendant,

Bruce David Adams should forfeit his interest in the following property to the United States of

America:

         A.     REAL PROPERTY LOCATED AT 6211 NW 124th Place, Gainesville, Fl
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                 32653-7999, more particularly described as Lot 4 of a REPLAT OF LOT 4 OF

                 UNIT NO. 1, MCGINLEY INDUSTRIAL PARK as per plat thereof recorded in

                 Plat book “P”, page 88 of the public records of Alachua County, Florida;

        B.       REAL PROPERTY LOCATED AT 7717 SW 122nd Street, Gainesville, FL

                 32608, more particularly described in Exhibit A. (The U.S. Marshals Service has

                 advised the U.S. Attorney’s Office that a Doublewide Mobile Home, identified as

                 VIN Nos. FLHML3B121317072A and FLHML3B121317072B is located on the

                 property);

        C.       $25,000.00 in U.S. Currency;

        D.       2002 Ford 150 4-Door Truck, VIN No. 1FTRW07372KC90119;

        E.       2005 Hortan Van H8.528TA Trailer, VIN #5E2B1282051020183;

        F.       2002 Honda XR70R Motorcycle - VIN #JH2DE02042K500113;

        G.       2001 Honda 250R Motorcycle - VIN #JH2ME03341M308993;

        H.       2003 Kawasaki KX65 Motorcycle - VIN #JKBKXEAC53A031629;

        I.       2005 Kawasaki KX85 Motorcycle - VIN #JKBKXFAC05A027318;

        J.       2006 Suzuki GSX1300 Motorcycle - VIN #JS1GW71A962103681;

        K.       2002 Suzuki RM Motorcycle - VIN #JS1RF16C022100288;

        L.       2005 EZ-GO Textron Golf Cart - VIN #1505320;

        M.       Smith & Wesson .44 cal Revolver - SN #73181;

        N.       Taurus .44 cal Revolver - SN #756160;

        O.       Smith & Wesson .357 Magnum Revolver - SN #BEW9325;

        P.       Taurus 9mm Pistol - SN #TTF32606;



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        Q.       Glock .45 cal Pistol - SN #DUK318US;

        R.       Beretta .380 cal Pistol - SN #A41162Y;

        S.       Kel-Tec .380 cal Pistol - SN # Unknown;

        T.       North American Arms .22 cal Pistol - SN #L032278;

        U.       AK47 Assault Rifle - SN #SBK3096-85;

        V.       AK47 Magazines;

        W.       Remington 870 12 gauge Shotgun - SN #AB166074M;

        X.       Remington .22 cal Rifle - SN # Unknown;

        Y.       Bushmaster .223 cal Rifle - SN # Unknown;

        Z.       $150,000.00 U.S. Currency.

        5. By virtue of the conviction and Special Verdict, the United States is entitled to

possession of the above-described property pursuant to 21 United States Code, Section 853 and

18 United States Code, Section 924. Accordingly, it is hereby

        ORDERED, ADJUDGED and DECREED that based on the foregoing, the following

property is hereby forfeited to the United States pursuant to the provisions of 21 U.S.C. § 853

and 18 U.S.C. § 924:

        A.       REAL PROPERTY LOCATED AT 6211 NW 124th Place, Gainesville, Fl

                 32653-7999, more particularly described as Lot 4 of a REPLAT OF LOT 4 OF

                 UNIT NO. 1, MCGINLEY INDUSTRIAL PARK as per plat thereof recorded in

                 Plat book “P”, page 88 of the public records of Alachua County, Florida;

        B.       REAL PROPERTY LOCATED AT 7717 SW 122nd Street, Gainesville, FL

                 32608, more particularly described in Exhibit A including a Doublewide Mobile



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                 Home, VIN Nos. FLHML3B121317072A and FLHML3B121317072B;

        C.       $25,000.00 in U.S. Currency;

        D.       2002 Ford 150 4-Door Truck, VIN No. 1FTRW07372KC90119;

        E.       2005 Hortan Van H8.528TA Trailer, VIN #5E2B1282051020183;

        F.       2002 Honda XR70R Motorcycle - VIN #JH2DE02042K500113;

        G.       2001 Honda 250R Motorcycle - VIN #JH2ME03341M308993;

        H.       2003 Kawasaki KX65 Motorcycle - VIN #JKBKXEAC53A031629;

        I.       2005 Kawasaki KX85 Motorcycle - VIN #JKBKXFAC05A027318;

        J.       2006 Suzuki GSX1300 Motorcycle - VIN #JS1GW71A962103681;

        K.       2002 Suzuki RM Motorcycle - VIN #JS1RF16C022100288;

        L.       2005 EZ-GO Textron Golf Cart - VIN #1505320;

        M.       Smith & Wesson .44 cal Revolver - SN #73181;

        N.       Taurus .44 cal Revolver - SN #756160;

        O.       Smith & Wesson .357 Magnum Revolver - SN #BEW9325;

        P.       Taurus 9mm Pistol - SN #TTF32606;

        Q.       Glock .45 cal Pistol - SN #DUK318US;

        R.       Beretta .380 cal Pistol - SN #A41162Y;

        S.       Kel-Tec .380 cal Pistol - SN # Unknown;

        T.       North American Arms .22 cal Pistol - SN #L032278;

        U.       AK47 Assault Rifle - SN #SBK3096-85;

        V.       AK47 Magazines;

        W.       Remington 870 12 gauge Shotgun - SN #AB166074M;



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        X.       Remington .22 cal Rifle - SN # Unknown;

        Y.       Bushmaster .223 cal Rifle - SN # Unknown;

        Z.       $150,000.00 U.S. Currency.

        It is further ORDERED, ADJUDGED and DECREED that in accordance with the law,

the United States shall cause to be published at least once, in a newspaper of general circulation,

notice of this Order, notice of its intent to dispose of the property in such manner as the Attorney

General may direct, and notice that any person, other than the defendant, having or claiming a

legal interest in the aforementioned property must file a petition with the Court within thirty (30)

days of the final publication of the notice or receipt of actual notice, whichever is earlier. The

United States shall:

        1. State in the notice that the petition shall be for a hearing to adjudicate the validity of

the petitioner's alleged interest in the property, shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner's right, title and interest in the

forfeited property and any additional facts supporting the petitioner's claim and the relief sought;

and

        2. To the extent practicable, provide direct written notice to any person known to have

an alleged interest in the property that is subject of the Preliminary Order of Forfeiture, as a

substitute for published notice as to those persons so notified.

        DONE AND ORDERED this               15th day of May, 2007


                                         s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge




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